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               EXHIBIT A
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                              UNITED STATES DEPARTMENT OF EDUCATION
                                OFFICE OF PLANNING, EVALUATION AND
                                        POLICY DEVELOPMENT


5/2/2025
Debra Sanchez
Project Director
CORPORATION FOR PUBLIC BROADCASTING
401 Ninth St. NW
Washington D.C. 20004

                                           RE: Grant Award Termination

Dear Debra Sanchez:

This letter provides notice that the United States Department of Education is terminating
your federal award, S295A200004. See 2 C.F.R. § 200.340-43.

It is a priority of the Department of Education to eliminate discrimination in all forms of education
throughout the United States. The Department has undertaken a review of grants and determined
that the grant specified above provides funding for programs that reflect the prior
Administration’s priorities and policy preferences and conflict with those of the current
Administration, in that the programs: violate the letter or purpose of Federal civil rights law;
conflict with the Department’s policy of prioritizing merit, fairness, and excellence in education;
undermine the well-being of the students these programs are intended to help; or constitute an
inappropriate use of federal funds. Therefore, pursuant to, among other authorities, 2 C.F.R. §
200.339-43, and the termination provisions in your grant award, the Department
hereby terminates grant No. S295A200004 in its entirety effective 5/2/2025.

If you wish to object to or challenge this termination decision, you must submit information and
documentation supporting your position in writing within 30 calendar days of the date of this
termination notice. Objections and challenges must be sent by email or first-class mail and
addressed to the component head that oversees the grantmaking unit, which will typically be the
Assistant Secretary of that unit. In this case, please address your objection or challenge to:

     Hayley Sanon
     Acting Assistant Secretary for Elementary and Secondary Education
     Office of Elementary and Secondary Education
     U.S. Department of Education
     OESEGrants@ed.gov
     400 Maryland Ave. SW



                                       400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                       www.ed.gov

       The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                    fostering educational excellence and ensuring equal access.
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Your appeal should set forth your basis for disagreeing with the Department’s decision to
terminate your grant and include any relevant supporting documentation. See id. § 200.342.

Costs incurred by you after this termination are allowable only if (a) those costs were properly
incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
those costs would be allowable if your federal award was not suspended or expired normally at the
end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.

You are encouraged to carefully review and discharge your closeout responsibilities set forth in
2 C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not
limited to, your obligation to “promptly refund any unobligated funds” that have been paid out
but “are not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in
the Department filing a report documenting your “material failure to comply with the terms and
conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
id. § 200.344(i). Finally, we also remind you of your responsibility to retain all Federal award
records for three years from the date of submission of your final financial report. See 2 C.F.R. §
200.334.

Respectfully,




Murray Bessette
Office of Planning, Evaluation, and Policy Development
400 Maryland Ave. SW
Washington, DC 20202




                                       400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                       www.ed.gov

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